                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

In re:                                                     Chapter 11

Legacy IMDBS, Inc., et al.,1                               Case No. 23-10852 (KBO)

                          Debtors.                         Jointly Administered


Synacor, Inc.,

                          Plaintiff,                       Adversary Proceeding No. 23-50753 (KBO)

v.

IV Media, LLC; Innovation Ventures, LLC;
Portal Acquisition Co.; iMedia Brands, Inc.;
ValueVision Interactive, Inc.; VVI Fulfillment
Center, Inc.; ValueVision Retail Inc.; JWH
Acquisition Company; PW Acquisition
Company, LLC; EP Properties, LLC; FL
Acquisition Company; Norwell Television,
LLC; 867 Grand Avenue, LLC; and
Unidentified Parties, 1-25,

                          Defendants.


           CERTIFICATION OF COUNSEL REQUESTING ENTRY OF ORDER
          APPROVING SECOND STIPULATION FOR FURTHER EXTENSION OF
         TIME TO RESPOND TO COMPLAINT FOR DECLARATORY JUDGMENT

         The undersigned counsel to Defendants IV Media, LLC and Innovation Ventures, LLC

(together, the “Defendants”) in the above-captioned adversary proceeding hereby certifies that:




1
  The Debtors in these Chapter 11 Cases, along with the last four digits of each Debtor’s federal tax identification
number are: ValueVision Media Acquisitions, Inc. (8670); Legacy IMBDS, Inc. (3770); ValueVision Interactive,
Inc. (8730); Portal Acquisition Company (3403); VVI Fulfillment Center, Inc. (5552); ValueVision Retail Inc.
(2155); JWH Acquisition Company (3109); PW Acquisition Company, LLC (0154); EP Properties, LLC (3951); FL
Acquisition Company (3026); Norwell Television, LLC (6011); and 867 Grand Avenue, LLC (2642). The Debtors’
service address is 6740 Shady Oak Road, Eden Prairie, MN 55344-3433.
       1.      On November 1, 2023, Plaintiff Synacor, Inc. (“Plaintiff”) filed its Complaint for

Declaratory Judgment [Adv. Docket No. 1] (the “Complaint”) initiating this adversary

proceeding.

       2.      On December 6, 2023, Plaintiff and Defendants entered into a Stipulation for

Extension of Time to Respond to Complaint for Declaratory Judgment, which is filed at Adv.

Docket No. 8, and extended the time for Defendants to respond to the Complaint through and

including January 4, 2024.

       3.      On January 5, 2024, the Court entered the Order Approving Stipulation Extending

Time to Answer or Respond to Complaint [Adv. Docket No. 19] extending the time for

Defendants to respond to the Complaint through and including January 11, 2024.

       4.      As a result of ongoing settlement discussions between the parties, Plaintiff and

Defendants have agreed to a further extension of Defendants’ time to respond to the Complaint

through and including January 19, 2024, as memorialized in Second Stipulation for Further

Extension of Time to Respond to Complaint for Declaratory Judgment (the “Stipulation”), a copy

of which is attached as Exhibit 1 to the proposed order attached hereto.

       5.      Pursuant to Del. Bankr. L.R. 7012-2, the parties seek entry of an order approving

the Stipulation.

       6.      Defendants therefore request that the Court enter the proposed order attached

hereto as Exhibit A at its earliest convenience. Counsel is available at the request of the Court.




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Dated: January 10, 2024           Respectfully submitted,
       Wilmington, Delaware
                                  GREENBERG TRAURIG, LLP

                                  /s/ Dennis A. Meloro
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                                  Counsel for the Defendants




                              3
                     EXHIBIT A




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                     EXHIBIT 1




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